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 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,,

10                                    Plaintiff,                    Case No. CR04-80L

11                           v.
                                                                    Minute Order
12                                                                  Re: Settlement Conference
        TAE HYU SHIN and KONG SUN
13      HERNANDEZ,

14                                    Defendants.

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17              The following Minute Order is made at the direction of the Honorable J. Kelley Arnold, United States
18 Magistrate Judge.
19              On March 11, 2005 the Honorable Robert S. Lasnik appointed Magistrate Judge, J. Kelley Arnold to
20 act as settlement judge in the above captioned cause. The parties and counsel met with Judge Arnold May
21
     25, 2005. At the conclusion of the session, it was agreed to resume settlement discussions at a later date.
22
     Discussions resumed August 4, 2005 and again August 16, 2005.
23
                The parties have reached agreement on the terms of a plea agreement to be presented to Judge Lasnik.
24
                Entered at the direction of U.S. Magistrate Judge, J. Kelley Arnold by Deputy Clerk, /s/Kelly Miller,
25
         th
26 this 8 day September 2005.
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     ORDER
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